Case 21-03000-sgj Doc 14-10 Filed 01/10/21           Entered 01/10/21 17:55:17     Page 1 of 1




November 30, 2020

Charitable DAF GP, LLC
4140 Park Lake Avenue, Suite 600
Raleigh, North Carolina 27612
Attention: Grant Scott

        RE:      Termination of Second Amended and Restated Service Agreement, dated
                 January 1, 2017, by and among Highland Capital Management, L.P.
                 (“HCMLP”), Charitable DAF Fund, L.P., and Charitable DAF GP, LLC (the
                 “Agreement”).

To Whom It May Concern:

As set forth in Section 5.02 of the Agreement, the Agreement is terminable at will upon at least
60 days advance written notice.

By this letter, HCMLP is notifying you that it is terminating the Agreement. Such termination
will be effective January 31, 2021. HCMLP reserves the right to rescind this notice of
termination.

Please feel free to contact me with any questions.

Sincerely,

HIGHLAND CAPITAL MANAGEMENT, L.P.

/s/ James P. Seery, Jr.

James P. Seery, Jr.
Chief Executive Officer
Chief Restructuring Officer




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                                                                        EXHIBIT 14
